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 1 PHILLIP A. TALBERT
   United States Attorney
 2 ADRIAN T. KINSELLA
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5
   Attorneys for Plaintiff
 6 United States of America

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 8                               IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 2:22-CR-0055-TLN
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   ESTEBAN GERARDO RAMIREZ, AKA                        DATE: August 4, 2022
      “ESTEBAN RAMIREZ VERDUZCO,” AND                    TIME: 9:30 a.m.
15   MARSHA GARMA PHILLIPS,                              COURT: Hon. Troy L. Nunley
16                                Defendants.
17

18                                              STIPULATION

19         1.       By previous order, this matter was set for status on August 4, 2022.

20         2.       By this stipulation, defendants now move to continue the status conference until October

21 20, 2022, at 9:30 a.m., and to exclude time between August 4, 2022, and October 20, 2022, under Local

22 Code T4.

23         3.       The parties agree and stipulate, and request that the Court find the following:

24                  a)     The government has represented that the discovery associated with this case

25         includes over 20 gigabytes of investigative reports and related documents in electronic form,

26         including undercover footage and audio, recorded statements, forensic cellular phone extractions,

27         search warrants, and other evidence. All of this discovery has been either produced directly to

28         counsel and/or made available for inspection and copying.


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 1                  b)      Counsel for defendants desire additional time to consult with their clients, review

 2           the current charges, conduct investigation and research related to the charges, review and copy

 3           discovery for this matter, to discuss potential resolutions with their clients, and to otherwise

 4           prepare for trial. Additionally, Mr. Martinez has specifically expressed the need for additional

 5           time to arranged for psychiatric and psychological evaluations of his client, who is currently

 6           incarcerated at the Wayne Brown Correctional facility in Nevada City, California.

 7                  c)      Counsel for defendants believe that failure to grant the above-requested

 8           continuance would deny them the reasonable time necessary for effective preparation, taking into

 9           account the exercise of due diligence.

10                  d)      The government does not object to the continuance.

11                  e)      Based on the above-stated findings, the ends of justice served by continuing the

12           case as requested outweigh the interest of the public and the defendant in a trial within the

13           original date prescribed by the Speedy Trial Act.

14                  f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

15           et seq., within which trial must commence, the time period of August 4, 2022 to October 20,

16           2022, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

17           T4] because it results from a continuance granted by the Court at defendant’s request on the basis

18           of the Court’s finding that the ends of justice served by taking such action outweigh the best

19           interest of the public and the defendant in a speedy trial.

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        STIPULATION REGARDING EXCLUDABLE TIME              2
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 2          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 4 must commence.

 5          IT IS SO STIPULATED.

 6   Dated: July 27, 2022                                      PHILLIP A. TALBERT
                                                               United States Attorney
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 8                                                             /s/ ADRIAN T. KINSELLA
                                                               ADRIAN T. KINSELLA
 9                                                             Assistant United States Attorney
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11   Dated: July 27, 2022                                      /s/ LUPE MARTINEZ
                                                               LUPE MARTINEZ
12                                                             Counsel for Defendant
                                                               ESTEBAN GERARDO RAMIREZ
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15   Dated: July 27, 2022                                      /s/ ETAN ZAITSU
                                                               ETAN ZAITSU
16                                                             Counsel for Defendant
                                                               MARSHA GARMA PHILLIPS
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19                                                     ORDER
20          IT IS SO FOUND AND ORDERED this 27th day of July, 2022.
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24                                                              Troy L. Nunley
                                                                United States District Judge
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      STIPULATION REGARDING EXCLUDABLE TIME                3
      PERIODS UNDER SPEEDY TRIAL ACT
